                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 1:06CR167
                                             )
               vs.                           )       ORDER FOR DISMISSAL
                                             )
8)JUAN PEREZ                                 )
     a/k/a “Primo”                           )


       THIS MATTER is before the Court on the Government’s motion to dismiss the Bill of

Indictment as to JUAN PEREZ only without prejudice.

       For cause shown,

       IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED, and

the indictment as to Juan Perez only is hereby DISMISSED WITHOUT PREJUDICE.

       The Clerk is directed to serve this Order by electronic transmission to the U.S. Probation

Office, the United States Attorney's Office, the United States Marshal’s Service, and defense

counsel.

                                                 Signed: February 10, 2007




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